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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Criminal No.
v.
Violation:

18 U.S.C. §§ 209(a) and 216(a)(2)
(Conflict of lnterest)

PATRICIA RAIKES

 

INFORMATION
The United States of America charges as follows:

From on or about November l999 through on or about January 2001, in the District of
Columbia and elsewhere, the defendant, PATRICIA RAIKES, while employed within the
executive branch of the United States Government, did willfully receive contributions to and
supplementations of her salary as compensation for her services as an officer and employee of the
executive branch of the United States Government from sources other than the Government of
the United States, to witt PATRICIA RAIKES, while employed by the United States Department
of State, did willfully accept and receive round-trip airfare and hotel accommodations for herself
and her family members worth approximately $l l,9()(), from non-governmental sources who

sought and obtained from defendant Raikes approval on pending visa applications

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In violation of Title 18, United States Code, Sections 209(a) and 2l6(a)(2).

NOEL HILLMAN
Chief, Public Integrity Section

aaa @M

PETE“R R. ZEIDENBERG

Trial Attomey

Public lntegrity Section

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Criminal Division

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